Case 2:24-cv-00055-SPC-NPM Document 10-1 Filed 02/05/24 Page 1 of 3 PageID 80




                UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF FLORIDA
                     FORT MYERS DIVISION
                  CASE.: 2:24-CV-00055-SPC-NPM




           CERTIFICATION OF WILLIAM B. FEDERMAN

       William B. Federman, hereby certifies that pursuant to

 Local Rule 2.01(c) (Practice in the Middle District):

       (1)I am not a Florida resident and not a member in good

          standing with the Florida Bar;

       (2)I am a member in good standing of the Oklahoma Bar

          Association and the United States District Court for

          the Western District of Oklahoma;

       (3)I have not abused the privilege of special admission

                                      1
Case 2:24-cv-00055-SPC-NPM Document 10-1 Filed 02/05/24 Page 2 of 3 PageID 81




          by maintaining a regular practice of law in Florida;

       (4)I have appeared in the following cases in federal

          district courts in Florida within the last 36 months:

             a. Abigail T. Bean, et al v. Mednax, Inc. matter( Case

                 No. 0:21-cv-02994-RAR(SD Fla.) (), and

             b. Kevin    Thompson,        et   al.   v   Paperlesspay

                 Corporation matter( Case No. 3:20-cv-00864-

                 BJD-JRK)(case dismissed before final pro hac

                 application was ruled upon); and

Pursuant to Local Rule 2.01(c)(5) and (b)(1)(B)-(G) and

(b)(2)(A)-(C):

       (5)I am a member in good standing of the Oklahoma Bar

          Association, the New York Bar Association and the

          State Bar of Texas;

       (6)I am familiar with 28 U.S.C. §1927;

       (7)I will comply with the federal and local rules of this

          Court;

       (8)I affirm the Oath of Admission contained on Form

          AO153;

       (9)The required fee has been paid to the Court;

                                      2
Case 2:24-cv-00055-SPC-NPM Document 10-1 Filed 02/05/24 Page 3 of 3 PageID 82




       (10) I will register with the Middle District’s CM/ECF

          system;

       (11) I will pay the periodic fee set by administrative

          order; and

       (12) I will comply with and remain familiar with the

          ethical requirements of The Florida Bar.




                                              February 5, 2024




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